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                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE



    In re:                                                           Chapter 11
                                                                     Case No. 21-11238 (CTG)
    AGSPRING MISSISSIPPI REGION, LLC, et al.,1                       (Jointly Administered)
                              Debtors.                               Re: Docket No. 231




                            ORDER GRANTING
              FIRST INTERIM APPLICATION FOR COMPENSATION
                   AND REIMBURSEMENT OF EXPENSES OF
                       DENTONS US LLP, AS COUNSEL
               FOR THE DEBTORS AND DEBTORS IN POSSESSION,
    FOR THE PERIOD FROM SEPTEMBER 10, 2021 THROUGH NOVEMBER 30, 2021
             Dentons US LLP (“Dentons”), as Counsel for the Debtors and Debtors in Possession

(“Debtors”) in the above-captioned cases, filed its First Interim Application for Compensation and

for Reimbursement of Expenses for the period from September 10, 2021, through November 30,

2021 (the “First Interim Application”). The Court has reviewed the First Interim Application and

finds that: (a) the Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334;

(b) notice of the First Interim Application, and any hearing on the First Interim Application, was

adequate under the circumstances; and (c) all persons with standing have been afforded the

opportunity to be heard on the First Interim Application. Accordingly, it is hereby

             ORDERED that the First Interim Application is GRANTED as provided herein, on an

Interim basis, and all fees and costs requested in the First Interim Application are allowed on an

Interim basis. Debtors in the above cases shall pay to Dentons the sum of $1,303,450.40 as

compensation and $56,305.11 as reimbursement of expenses, for a total of $1,359,755.51for



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    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: Agspring
    Mississippi Region, LLC (9147); Agspring MS 1, LLC (6456); Agspring MS, LLC (2692); Lake Providence Grain and Rice
    LLC (1986); and Bayou Grain and Chemical Corporation (7831). The Debtors’ mailing address is 5101 College Blvd., Leawood,
    KS 66211.



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services rendered and disbursements incurred by Dentons for the period September 10, 2021

through November 30, 2021, less any amounts previously paid in connection with any monthly

fee applications.

        ORDERED that to the extent Dentons has incurred fees and expenses in addition to the

foregoing, Dentons may file one or more supplemental fee applications by following the interim

compensation procedures set forth in the Administrative Order and submitting a certificate of no

objection and order to the Court for final approval of such fees and expenses as may be reflected

in any such supplemental fee application.

        ORDERED that this Court retains jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Order.




   Dated: February 25th, 2022                 CRAIG T. GOLDBLATT
   Wilmington, Delaware                       UNITED STATES BANKRUPTCY JUDGE




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